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                 EXHIBIT 6
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     CELEST NGEVE                                                    July 15, 2022
     UNITED STATES vs STATE OF GEORGIA                                           1


· · · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · ·FOR THE NORTHERN DISTRICT OF GEORGIA
· · · · · · · · · · · · ·ATLANTA DIVISION
·3
· · ·UNITED STATES OF AMERICA,· ·)
·4· · · · · · · · · · · · · · · ·)
· · · · ·Plaintiff,· · · · · · · )· CIVIL ACTION FILE
·5· · · · · · · · · · · · · · · ·)
· · · · · · ·-vs-· · · · · · · · )· NO. 1:16-cv-03088-ELR
·6· · · · · · · · · · · · · · · ·)
· · ·STATE OF GEORGIA,· · · · · ·)
·7· · · · · · · · · · · · · · · ·)
· · · · · · · · Defendant.· · · ·)
·8

·9· · · · · · · · · · · · · · ·- - -

10· · · · · · ·Deposition of CELEST NGEVE, taken on

11· · · ·behalf of the Plaintiff, pursuant to

12· · · ·Notice and agreement of counsel, in

13· · · ·accordance with the Federal Rules of Civil

14· · · ·Procedure, before Susan M. Shaw, Certified

15· · · ·Court Reporter, at 1250 Oglethorpe Avenue,

16· · · ·Athens, Georgia, on the 15th day of July

17· · · ·2022, commencing at the hour of 9:31 a.m.

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·1· ·reporting to them and keeping them updated on
·2· ·changes and trends that are happening within Rutland
·3· ·Academy.
·4· · · · ·Q· · ·Okay.· So am I correct in understanding
·5· ·from what you just said that one of your
·6· ·responsibilities is supervising and supporting
·7· ·students?
·8· · · · ·A· · ·Absolute -- yes.
·9· · · · ·Q· · ·Do you supervise or support students
10· ·outside of the Rutland Academy environment?
11· · · · ·A· · ·I don't supervise students outside of
12· ·Rutland Academy, but I do support students outside
13· ·of Rutland Academy.
14· · · · ·Q· · ·In what way do you support students
15· ·outside of Rutland Academy?
16· · · · ·A· · ·GNETS directors provide consultative
17· ·services to the 13 -- to the school systems in which
18· ·they serve; so those include going out to observe
19· ·students in other -- in other schools and providing
20· ·recommendations, therapeutic recommendations in
21· ·order to make the classroom structure better or in
22· ·ways to support the teachers as they support the
23· ·students.· Behavior intervention planning,
24· ·functional behavior assessment planning, and just
25· ·different ways of just making sure that those


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·1· ·students have better therapeutic services within the
·2· ·school settings.
·3· · · · ·Q· · ·Okay.· When you say behavioral
·4· ·intervention planning and functional behavioral
·5· ·assessment, do you complete those for students in
·6· ·environments outside of Rutland Academy?
·7· · · · ·A· · ·No, I don't complete them, but I assist.
·8· · · · ·Q· · ·You assist others in completing them?
·9· · · · ·A· · ·That's correct.
10· · · · ·Q· · ·Are the other people who you assist in
11· ·completing behavioral intervention plans and
12· ·functional behavioral assessments personnel
13· ·operating within other school systems?
14· · · · ·A· · ·Yes.
15· · · · ·Q· · ·And would those be the 13 LEAs that you
16· ·referenced earlier?
17· · · · ·A· · ·Yes.
18· · · · ·Q· · ·In terms of how you support students
19· ·within Rutland Academy, what does that involve?
20· · · · ·A· · ·Many things.· Some of those things include
21· ·therapeutic walks, talking to them about their
22· ·progress, helping them understand their goals and
23· ·objectives and how they're doing with mastering
24· ·their goals.
25· · · · ·Sometimes helping with crisis de-escalation,


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·1· ·helping them understand that that one particular
·2· ·moment doesn't have to define their entire day.
·3· · · · ·Helping them through suicidal ideation as well
·4· ·as homicidal ideation when they're feeling like they
·5· ·have a plan that they want to carry through, as well
·6· ·as contacting, at times, crisis units that may have
·7· ·to support them beyond the school setting.
·8· · · · ·But also talking to them, providing PBIS
·9· ·supports, going in and doing pop-up surprises just
10· ·to let them know that we see them doing great
11· ·things, just as a random moment to see that they're
12· ·mastering the skills and objectives, as well as just
13· ·to really -- just talking to them, greeting them on
14· ·an every-morning basis, talking to them about what
15· ·kind of things they're having difficulty with and
16· ·what kind of things they need more support with, but
17· ·also at times providing support with them after they
18· ·have met with their therapist.· Sometimes their
19· ·therapist does a great session, and sometimes
20· ·they're more challenging for them afterwards.
21· · · · ·Q· · ·Mm-hmm.· In terms of how your time as
22· ·director is divided, what percentage of your time
23· ·would you say is spent managing and supervising
24· ·Rutland Academy versus providing the support that
25· ·you discussed earlier to students that are still in


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·1· ·general education settings in one of the 13 LEAs
·2· ·that you referenced?
·3· · · · ·A· · ·That varies.· It's not always exactly the
·4· ·same.· It's kind of month to month, based on what
·5· ·LEAs are needing additional support.· Mostly it's 85
·6· ·percent here in the building with the students, 15
·7· ·percent in the districts.· But there -- there are
·8· ·months where there may be additional supports needed
·9· ·in districts.· There may be a little more time, you
10· ·know, going out to them as well.
11· · · · ·Q· · ·And on months where it's more time going
12· ·out to local school districts, what would you say
13· ·that split looks like?
14· · · · ·A· · ·About 75 percent in the building and then
15· ·25 percent out in the district, supporting them.
16· · · · ·Q· · ·Okay.· As director of Rutland Academy, do
17· ·you participate in any regularly scheduled meetings
18· ·apart from IEPs, IEP meetings?
19· · · · ·A· · ·Yes.
20· · · · ·Q· · ·What are those regularly scheduled
21· ·meetings that you participate in as director?
22· · · · ·A· · ·Will you clarify on, like, the type of --
23· ·like, what you're asking me exactly?
24· · · · ·Q· · ·Sure.· I'm trying to understand if there
25· ·are individuals that you meet with regularly in the


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